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                             United States District Court
                             Eastern District of Michigan
                                  Southern Division

 United States of America,                           Criminal No. 17-20183

                    Plaintiff,                       Hon. Mark A. Goldsmith
 v.

 D-5 Harold Lashawn Nero,

                Defendant.
 ____________________________/

                 Government’s Response to Defendant’s Motion
                  for Revocation of Detention Order (R. 174)

       Harold Lashawn Nero is a career criminal with a string of arrests, convictions,

 and probation violations on drug and violent crimes stretching back decades. He is

 now indicted on seven sex trafficking charges and two drug charges—which each

 trigger presumptions of detention. Mr. Nero faces long mandatory sentences for his

 crimes at the Victory Inn. He is a proven danger and serial violator of supervision.

       This Court should deny Mr. Nero’s motion for bond.

                                        Respectfully submitted,

                                        Daniel L. Lemisch
                                        Acting United States Attorney

                                         /s Jerome F. Gorgon
                                        Jerome F. Gorgon
                                        Assistant United States Attorney
                                        211 West Fort Street, Suite 2001
                                        Detroit, Michigan 48226-3211
                                        (313) 226-9676
 Date: January 2, 2018                  jerome.gorgon@usdoj.gov

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                 Government’s Brief in Support of its Response

                                 Issue Presented

       Should this Court grant bond to a serial criminal with a history of violence
 and drug dealing—including while on supervision—who is now indicted in a nine-
 count sex trafficking and drug conspiracy with presumptions of detention?




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 I.    Statement of Facts

       The government relies on several items which were previously provided to

 the Court at the April 6, 2017 bond hearing of codefendant Janette Gaggo Tawfik:

 (1) video clips from the Victory Inn’s surveillance system, (2) the government’s pole

 camera video, and (3) 13 independent victim and witness statements. (R. 48: Opinion

 and Order Denying Defendant’s Request for Pretrial Release; 04/06/2017 Minute

 Entry). In additional support of Mr. Nero’s detention, the government relies on: (4)

 the pretrial services report recommending detention, (5) Mr. Nero’s criminal history,

 and (6) information from the US Marshals. From these sources, the government

 describes the following facts.

 A.    The Initial Investigation and Surveillance

       The federal investigation began in September 2016, when an emergency room

 human trafficking and heroin overdose victim (“Victim 1”) told federal agents from

 the Department of Homeland Security (“HIS”) about a conspiracy that was selling

 women and drugs at the Victory Inn hotel on Michigan Avenue, in Detroit. (R. 48

 Order at Pg ID 140). Victim 1 stated that she had swallowed the drugs to avoid

 detection on the orders of a pimp named “Tone,” an alias of co-defendant Darrick

 Bell. Id. Bell is a convicted murderer and drug dealer, with several firearms

 convictions. Id. Bell worked hand-in-hand with Mr. Nero, who was an enforcer and

 drug distributor for Bell.



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       In subsequent interviews, Victim 1 confirmed that Bell is the leader of the

 conspiracy, that he uses drugs to coerce the human trafficking victims, and that she

 was terrified of his physical assaults. Id. Victim 1 said that the Victory Inn staff was

 part of the conspiracy and would direct sex dates to certain rooms. Id.

       Another human trafficking victim (“Victim 2”) described an extensive drug

 and human trafficking operation headed by Bell, where she and other women had

 been held against their will for several weeks. Id. at Pg ID 140-41. Victim 2 stated

 that the conspiracy forced women to commit sex acts for money in exchange for a

 room at Victory Inn for drugs to support their addictions. Id. at Pg ID 141. Victim 2

 said that the Victory Inn staff was complicit in the criminal activity and that they

 only use a handful of rooms at the hotel for legitimate customers. Id.

       On November 3, 2016, Detroit Police and Detroit EMS responded to a female

 drug overdose victim (“Victim 3”) in room 118 at the Victory Inn. Id. While

 assessing Victim 3, Detroit Police talked to co-defendant Terry “T” Pruitt at the door

 of room 118. Id. On a Detroit Police bodycam video, Pruitt casually discusses the

 fact that he can procure prostitutes for customers. Id.

       On November 4, 2016, Detroit police spoke to a female victim (“Victim 4”)

 at a gas station near the Victory Inn. Id. Victim 4 stated that she was a prostitute who

 lived at the Victory Inn, and that Bell frequently delivered drugs to the hotel. Id. A

 few days later, HSI installed a nearby pole camera to conduct surveillance on the



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 Victory Inn. Id. On November 23, 2016, a reliable confidential informant told police

 that multiple drug dealers were working out of the Victory Inn. Id.

       In early December, HSI and Detroit Police began conducting surveillance at

 the Victory Inn. Id. They observed dozens of apparent hand-to-hand drug deals and

 commercial sex dates in several different rooms. Id. The police performed traffic

 stops on several customers who left after short stays. Id. One customer admitted that

 she had just purchased $30 worth of crack cocaine from the Victory Inn, that she had

 been buying crack cocaine for the past several months from various individuals at

 the Victory Inn, and that “lots” of “girls” work as prostitutes at their to support their

 drug habits. Another customer had crack cocaine he just bought at the Victory Inn.

 He said that he had been buying crack cocaine for the past three months at the hotel,

 and that any prostitute on Michigan Avenue would tell you to get drugs “at the

 Victory Inn.”

       On December 26, 2016, Dearborn Police responded to a drug overdose call

 for a woman at the Best Value Inn hotel in Dearborn, Michigan, which is a few

 blocks from the Victory Inn. Id. at Pg ID 142. The female victim (“Victim 7”) died

 at the scene. Id. Victim 7’s boyfriend stated that she had ingested drugs that they

 purchased that day at the Victory Inn. Id.

       On December 29, 2016, another reliable confidential informant told police

 that multiple people are selling drugs and “pimping” girls at the Victory Inn. Id.



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 B.    The January 2017 Search Warrant

       On January 12, 2017 at 6:00 a.m., HSI and local police executed a Federal

 search warrant for 25 rooms at the Victory Inn. Id. During the execution, agents

 rescued 14 lethargic female human trafficking victims who were suffering from drug

 withdrawal in disheveled rooms. Id. They arrested co-defendant Michael “Man”

 Randol after he tossed 35 grams of crack cocaine from a room window. Id. at Pg ID

 142-43. Agents also recovered one loaded firearm, narcotics, paraphernalia, and

 dozens of cell phones. Id. Most of the hotel rooms contained extensive evidence of

 recent drug use (used needles, used baggies, etc.). Id. Agents also seized the Victory

 Inn’s encrypted video surveillance data from the hotel’s cameras, and records

 including thousands of handwritten room receipts. Id. at Pg ID 143.

       After rescuing the human trafficking victims from the Victory Inn, agents

 were able to interview some of them who confirmed that Bell and the other co-

 defendants, controlled, directed, and participated in the drug distribution and

 commercial sex at the Victory Inn. Id. More than one victim stated that Mr. Nero

 abused them, would hit the girls to keep them “in check,” and even guarded them

 like prisoners while they walked to prostitute themselves on Michigan Avenue.

 C.    The Evidence from the Victory Inn

       Preliminary review of the pole camera video and pictures shows a massive

 volume of apparent hand-to-hand drug and commercial sex transactions from almost

 every Victory Inn room across a period of two months. Id.

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       Agents also recovered approximately 14,300 hours of encrypted video—the

 equivalent of more than 1 year and 7 months from the Victory Inn’s 13 surveillance

 cameras. Id. at Pg ID 144. At the time of the April 6, 2017 hearing, agents had been

 able to review of 66 hours (about 0.04%) of the video, which show hundreds of drug

 transactions, widespread prostitution, violence, and members of the conspiracy. Id.

 Eleven video clips from this initial sample reveal drug transactions, human

 trafficking victims, and drug use (including at least one apparent overdose that lasted

 a considerable amount of time yet went unaddressed). Id. Mr. Nero is visible

 participating in both activities and walks past the overdosing woman.

       Several clips from January 2, 2016 and January 3, 2016, from an internal

 hallway show violence, drug dealing, and human trafficking victims. In the clips

 which have been shown to the Court in the April 6, 2017 hearing, Mr. Nero directs

 drug traffic, drug customers crowd the hallway, hand-to-hand deals take place, a

 woman appears to overdoses, and a man strikes a human trafficking victim in the

 back of her head as they walk in the hall.

 D.    Nero’s Post-Indictment Concealment

       On March 29, 2017, federal grand jury indicted Mr. Nero and issued a warrant

 for his arrest. (R. 17: Indictment).

       According to the US Marshals, they conducted numerous interviews and

 surveillance operations when the case was assigned to the Detroit Fugitive

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 Apprehension Team (DFAT). (Ex 1: US Marshal’s June 28, 2017 Report). DFAT’s

 investigation showed that Mr. Nero was residing in the Detroit area and that he was

 receiving assistance from his friends and family to conceal his whereabouts. Id. The

 Marshals interviewed known associates of Mr. Nero who all denied knowing his

 whereabouts. Id. But the Marshals determined that the associate’s statements were

 false because Mr. Nero had been sighted in the area of his associates within days of

 the interviews conducted by DFAT officers. Id.

       On June 28, 2017, DFAT learned that Mr. Nero was hiding at 9781 Petoskey

 in Detroit. Id. Upon arrival at that location, a subject matching Mr. Nero’s physical

 characteristics exited the location and was attempting to conceal his face by utilizing

 his hands, wearing a hooded shirt, and sunglasses. Id. Mr. Nero walked from the

 location between houses, and avoiding walking directly on the street as he left the

 area. Id. DFAT maintained visual surveillance on Mr. Nero and arrested him near

 and intersection. Id.

 II.   Argument

 A.    There is a Presumption Against Releasing Nero

       “When a ‘judicial officer finds that there is probable cause to believe’ that a

 defendant committed one of the crimes listed in section 3142(e)(3), there is a

 presumption in favor of detention: ‘Subject to rebuttal by the person, it shall be

 presumed that no condition or combination of conditions will reasonably assure the

 appearance of the person as required and the safety of the community[.]’” United

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 States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010) (quoting 18 U.S.C. § 3142(e)(3)).

 “A grand jury indictment, by itself, establishes probable cause to believe that a

 defendant committed the crime with which he is charged.” United States v. Hazime,

 762 F.2d 34, 37 (6th Cir. 1985). “Section 3142(e)(3)’s presumption in favor of

 detention imposes only a ‘burden of production’ on the defendant, and the

 government retains the ‘burden of persuasion.’” Stone, 608 F.3d at 945 (citations

 omitted). “Although a defendant’s burden of production ‘is not heavy,’ he must

 introduce at least some evidence.” Id.

       “Even when a defendant satisfies his burden of production, however, the

 presumption favoring detention does not disappear entirely, but remains a factor to

 be considered among those weighed by the district court.” Id. (citations and

 quotations omitted). “The presumption reflects Congress’s substantive judgment

 that particular classes of offenders should ordinarily be detained prior to trial.” Id.

 “To rebut the presumption, therefore, a defendant should ‘present all the special

 features of his case’ that take it outside ‘the congressional paradigm.’” Id. at 946.

       The grand jury found probable cause and indicted Mr. Nero for seven sex

 trafficking crimes (Counts 1, 3, 4, 5, 6, 7, and 9). (R. 98: Superseding Indictment).

 Each of these is an offense under Chapter 77 of Title 18, United States Code, with a

 maximum term of imprisonment of 20 years or more. (R. 143: Acknowledgment of

 Superseding Indictment). Each triggers a rebuttable presumption in favor of

 detention. See 18 U.S.C. 3142(e)(3)(D).

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       The grand jury did the same for Mr. Nero’s controlled substance crimes

 (Counts 11 and 18). (R. 98: Superseding Indictment). Both of these have a maximum

 term of 10 years or more. (R. 143: Acknowledgment of Superseding Indictment).

 These counts carry their own separate presumption. See 18 U.S.C. 3142(e)(3)(A).

       After applying the facts of this case and Mr. Nero’s history to the statutory

 factors, Mr. Nero cannot overcome the presumptions.

 B.    Nature and Circumstances—18 U.S.C. § 3142(g)(1)

       Mr. Nero’s crimes implicate several of the express factors under 18 U.S.C. §

 3142(g)(1).

       First, Counts 1, 3, 4, 5, 6, 7, and 9 all involve human trafficking in violation

 of Title 18 U.S.C. § 1591, which the Court considers under 18 U.S.C. § 3142(g)(1)

 (“whether the offense is . . . a violation of section 1591”). By definition, human

 trafficking is a violent, fraudulent, and coercive crime. See 18 U.S.C. § 1591(a)

 (“force, threats of force, fraud, coercion . . . or any combination of such means will

 be used to cause the person to engage in a commercial sex act[.]”). Here, multiple

 witnesses stated that the conspiracy—including Mr. Nero—employed beatings,

 various threats, degrading actions, and dangerous addictive drugs to coerce the

 human trafficking victims into commercial sex acts. Mr. Nero’s boss, Bell, allegedly

 killed one female victim (“Juicy”) for failure to pay a drug debt, and police recently

 discovered that another (“7”) is dead. A video clip shows another man violently

 striking another apparent female victim in the head. During the January 12, 2017

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 search warrant, agents rescued over a dozen lethargic and addicted female victims

 clustered in disheveled rooms.

       Second, Counts 11 and 18 are controlled substance offenses, which is another

 factor. See 18 U.S.C. § 3142(g)(1) (“whether the offense . . . involves a controlled

 substance”). The evidence shows the impressive scale of the conspiracy’s drug

 distribution. Agents surveilled hundreds of drug transactions, and recovered

 extensive evidence of drug use and distribution during the search warrant. Again,

 several witnesses stated that Mr. Nero was directly involved in the drug conspiracy,

 and he is on video selling drugs while customers mill about.

       The Sixth Circuit “routinely affirms, on dangerousness grounds, the pre-trial

 detention of run-of-the-mill drug dealers, even without any indication that the

 defendant has engaged in violence.” Stone, 608 F.3d at 947 n.6. See also United

 States v. Gray, 20 F. App’x 473 (6th Cir. 2001) (conspiracy to possess with intent to

 distribute seven kilograms of cocaine, testimony from family members insufficient

 to overcome the presumption). There is more here, including strong evidence of

 violence, coercion, and several overdoses linked to Victory Inn drugs. On the

 November 3, 2017 police video alone, co-conspirator Pruitt brazenly discusses sex

 trafficking while a victim overdoses inside room 118.

       Third, Mr. Nero’s human trafficking and drug offenses carry stiff penalties,

 including mandatory terms of 15 or 20 years, and up to life in prison. These penalties

 reflect the serious nature of these crimes. See, e.g., Baldwin v. N.Y., 399 U.S. 66, 68

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 (1970) (“In deciding whether an offense is ‘petty,’ we have sought objective criteria

 reflecting the seriousness with which society regards the offense . . . and we have

 found the most relevant such criteria in the severity of the maximum authorized

 penalty.”).

 C.    Weight of the Evidence—18 U.S.C. § 3142(g)(2)

       The weight of the evidence “goes to the weight of the evidence of

 dangerousness, not the weight of the evidence of the defendant’s guilt.” Stone, 608

 F.3d at 948. See also Hazime, 762 F.2d at 37 (the weight of evidence against the

 person “deals with the factors to be considered in determining whether there are

 conditions which will assure the appearance of the accused and safety of the

 community”). Here, the weight of the evidence of Mr. Nero’s dangerousness and

 risk of non-appearance is strong.

       More than one victim rescued from the Victory Inn stated that Mr. Nero

 abused them, would hit the girls to keep them “in check,” and even guarded them

 like prisoners while they walked to prostitute themselves on Michigan Avenue. His

 dangerousness is confirmed by his long history of committing crimes while on

 supervision. And he has failed to appear for at least two prior hearings. This factor

 strongly favors detention.

 D.    History and Characteristics—18 U.S.C. § 3142(g)(3)

       Mr. Nero’s long and troubling criminal history is set out in the PSR. Mr. Nero

 cannot dispute his extensive record, nor can show that he has a stable employment

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 history. As shown below, Mr. Nero has at least 10 convictions, including eight or so

 for controlled substances. See PSR. He has violated probation eight times and

 committed crimes at least six times while on supervision. Id. He was arrested several

 other times between 2010 and 2014 (including for armed robbery). Id. And—

 contrary to Mr. Nero’s claim in his motion (see R. 174: Motion for Revocation of

 Detention at Pg ID 495)—the PSR proves that he has failed to appear for multiple

 hearings. Id.

 Date of         Offense                  Sentence      Supervised      Violated
 offense                                                at time of      probation
                                                        new crime
 4-22-1995       Felony firearm,          2 years’                      Yes—3
                 Assault with a           probation                     times
                 dangerous weapon
 4-22-1999       Controlled Substance -
                                   lifetime                             Yes
                 Delivery/Manf.,   probation—
                 Nar/Coc <50g      and failed to
                                   appear for
                                   sentencing
 10-14-1999 Controlled Substance - lifetime             Yes—was on      Yes
            Delivery/Manf.,        probation            bond for
            Nar/Coc <50g                                4-22-1999
                                                        charge
 8-3-2000        Controlled Substance     184 days in   Yes
                                          jail

 12-15-2000 Probation violations          1-20 years in Yes
            for 1999 convictions          prison

 7-22-2003  Controlled Substance -        3 years’      Yes             Yes
            Possess Narc/Cocaine          probation
            < 25g
 11-28-2004 Controlled substance          90 days in    Yes
            possess                       jail

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 Date of      Offense                  Sentence        Supervised     Violated
 offense                                               at time of     probation
                                                       new crime
 6-25-2005    Controlled Substance - 3 years’          Yes            Yes—and
              Delivery/Manf., /Coc probation                          failed to
              <50g                                                    appear for
                                                                      hearing
 11-5-2007   Stolen Property -         1-5 years       Yes
             Receiving and
             Concealing
 5-3-2009    Controlled substance -    20 days in
             Use                       jail
 2010-2014 Arrested eight times
             (including for armed
             robbery and drugs)
 8-4-2015    Stolen Property -         1 year + 4                     Yes—twice
             Receiving and             years’
             Concealing, and           probation
             Controlled Substance -
             Possess
             Narcotic/Cocaine <
             25g
 Victory Inn 7 human trafficking                       Yes
 conspiracy             +
 begins in   2 controlled substance
 2015


       Mr. Nero also significantly escalated his criminal activities in this case by

 conspiring to sell women and drugs with other men who have long criminal records

 for violence, weapons, and drug dealing. On top of this, it took the US Marshals

 three months to locate him because he was being aided by associates. (Ex 1). And

 when they did find Mr. Nero, he was concealing his identity. Id.

       Mr. Nero has also used several aliases, including “Sean Spikes.”


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 E.    Danger to Community or Anyone—18 U.S.C. § 3142(g)(4)

       Mr. Nero is a danger to the community, to others, and to his own safety. There

 is extensive evidence of his involvement in a large-scale drug distribution conspiracy

 at the Victory Inn. “To be sure, drug trafficking is a serious offense that, in itself,

 poses a danger to the community.” Stone, 608 F.3d at 947, n. 6. See also United

 States v. Leon, 766 F. 2d 77, 81 (2d Cir. 1985) (“the harm to society caused by

 narcotics trafficking is encompassed within Congress’s definition of ‘danger’”)).

 There were also at least three overdose victims traced to the Victory Inn conspiracy.

       Worse, Mr. Nero had a major role in facilitating, abusing, and coercing the

 female victims into commercial sex acts. Mr. Nero and his co-conspirators directly

 benefitted from exploiting these women. “Congress [has] recognized that human

 trafficking, particularly of women and children in the sex industry, ‘is a modern form

 of slavery, and it is the largest manifestation of slavery today.’” United States v.

 Walls, 784 F.3d 543, 548 (9th Cir.), cert. denied, 136 S. Ct. 226 (2015) (citing 22

 U.S.C. § 7101(b)(1)).




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 III.   Conclusion

        This Court should deny Mr. Nero’s motion.


                                             Respectfully Submitted,

                                             Daniel L. Lemisch
                                             Acting United States Attorney

                                              /s Jerome F. Gorgon Jr.
                                             JEROME F. GORGON JR.
                                             Assistant United States Attorney
                                             211 West Fort Street, Suite 2001
                                             Detroit, Michigan 48226-3211
                                             (313) 226-9676
                                             jerome.gorgon@usdoj.gov
 Date: January 2, 2018




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                                 Certificate of Service

       I hereby certify that on January 2, 2018, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system which will send

 notification of such filing to counsel of record.



                                                 /s Jerome F. Gorgon Jr.
                                                JEROME F. GORGON JR.
                                                Assistant United States Attorney
                                                211 West Fort Street, Suite 2001
                                                Detroit, Michigan 48226-3211
                                                (313) 226-9676
                                                jerome.gorgon@usdoj.gov




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